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               8                 UNITED STATES DISTRICT COURT
               9                CENTRAL DISTRICT OF CALIFORNIA
              10
              11 NANO FOUNDATION, LTD., a New ) Case No. 2:19-cv-04237 SVW(PJWx)
                 York non-profit corporation; and      )
              12 COLIN   LeMAHIEU,     an  individual, ) ORDER GRANTING
                                                       ) APPLICATION FOR LEAVE TO
              13             Plaintiffs,               ) FILE UNDER SEAL
                                                       )
              14       vs.                             )
                                                       )
              15 DAVID   C. SILVER,    an individual,  )
                                                       )
              16             Defendant.                )
                                                       )
              17                                       )
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LAW OFFICES
ROSENFELD,
 MEYER &
SUSMAN LLP
                   520591.01                [PROPOSED] ORDER
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               1               After consideration of the papers and pleadings in support, and all other
               2 matters presented to the Court, and the Court having found that compelling reasons
               3 exist to grant the application, IT IS HEREBY ORDERED that Plaintiffs Colin
               4 LeMahieu and Nano Foundation, Ltd.'s ("Plaintiffs") Application for Leave to File
               5 Under Seal is GRANTED.
               6               Plaintiffs are hereby permitted to file the full, unredacted copies of the
               7 following seven (7) documents under seal, with the publicly-filed documents
               8 redacted as follows:
               9
              10 TITLE OF DOCUMENT                                      PORTIONS REDACTED IN PUBLIC
              11                                                        FILING
              12 1. PLAINTIFFS NANO                                     2:18-3:4
                 FOUNDATION, LTD. AND COLIN                             3:17-25
              13
                 LEMAHIEU'S OPPOSITION TO                               4:3-16
              14 DEFENDANT DAVID C. SILVER'S                            4:18-5:6
                                                                        5:14(beginning after "(Id. at ¶ 3.)" – 5:19
              15 MOTION TO DISMISS
                 COMPLAINT                                              5:28 (beginning after "Motion." -6:12
              16                                                        6:15 (beginning after "redacting") -6:16
              17                                                        7:22-23
                                                                        8:24-9:16
              18                                                        9:19 (beginning after "disclose that" –
              19                                                        9:20 (ending before "suggests")
                                                                        9:25-10:3 (ending before "Quadrant")
              20                                                        10:12-13 (ending before "[A] written")
              21                                                        10:16 (beginning after "(2014)"-17
                 2. DECLARATION OF RYAN M.                              2:17 (beginning after "acceptable") –
              22 LAPINE IN SUPPORT OF                                   2:26 (ending before "He responded")
              23 PLAINTIFFS NANO
                 FOUNDATION, LTD. AND COLIN
              24 LEMAHIEU'S OPPOSITION TO
              25 DEFENDANT DAVID C. SILVER'S
                 MOTION TO DISMISS
              26 COMPLAINT
              27
                 3. DECLARATION OF PETER                                2:13-19
              28 SCOOLIDGE IN SUPPORT OF
LAW OFFICES
ROSENFELD,
 MEYER &
SUSMAN LLP
                                                                    1
                   520591.01                                [PROPOSED] ORDER
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               1 PLAINTIFFS NANO FOUNDATION,
                 LTD. AND COLIN LEMAHIEU'S
               2
                 OPPOSITION TO DEFENDANT
               3 DAVID C. SILVER'S MOTION TO
                 DISMISS COMPLAINT
               4
               5 4. EXHIBIT A TO DECLARATION           (Entire exhibit)
               6 OF PETER SCOOLIDGE IN
                 SUPPORT OF PLAINTIFFS NANO
               7 FOUNDATION, LTD. AND COLIN
               8 LEMAHIEU'S OPPOSITION TO
                 DEFENDANT DAVID C. SILVER'S
               9 MOTION TO DISMISS
              10 COMPLAINT
              11 5. PLAINTIFFS NANO                    7:27-8:12 (ending before "The release")
              12 FOUNDATION, LTD. AND COLIN
                 LEMAHIEU'S OPPOSITION TO
              13 DEFENDANT DAVID C. SILVER'S
              14 SPECIAL MOTION TO STRIKE
                 COMPLAINT PURSUANT TO CAL.
              15 CODE CIV. PROC. § 425.16
              16
                 6. EXHIBIT B TO DECLARATION           (Entire exhibit)
              17 OF PETER SCOOLIDGE IN
              18 SUPPORT OF
                 PLAINTIFFS NANO
              19 FOUNDATION, LTD. AND COLIN
              20 LEMAHIEU'S OPPOSITION TO
                 DEFENDANT DAVID C. SILVER'S
              21 MOTION TO STRIKE
              22 COMPLAINT PURSUANT TO CAL.
                 CODE CIV. PROC. §425.16.
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LAW OFFICES
ROSENFELD,
 MEYER &
SUSMAN LLP
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                   520591.01                [PROPOSED] ORDER
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               1 8. PLAINTIFFS NANO                           1:6 (beginning after "him." – 1:8 (ending
                 FOUNDATION, LTD. AND COLIN                   before "That release")
               2
                 LEMAHIEU'S OPPOSITION TO                     2:12-23
               3 DEFENDANT DAVID C. SILVER'S                  2:25-3:1 (ending before "Sage v Hale")
                 MOTION FOR ATTORNEYS' FEES                   3:7 (beginning after "meritless") -3:10
               4
                 AND SANCTIONS PURSUANT TO                    3:27-28
               5 FEDERAL RULE OF CIVIL
                 PROCEDURE 11 AGAINST: (1)
               6
                 PLAINTIFFS NANO FOUNDATION,
               7 LTD. AND COLIN LEMAHIEU AND
               8 (2) RYAN M. LAPINE, ESQ.,
                 JOSHUA H. HERR, ESQ., AND
               9 PIERCE, ROSENFELD, MEYER &
              10 SUSMAN, LLP
              11
              12
                               IT IS SO ORDERED.
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              14
                   DATED:         July 16, 2019                _____________________________
              15                                               Hon. Stephen V. Wilson
              16                                               United States District Court Judge

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LAW OFFICES
ROSENFELD,
 MEYER &
SUSMAN LLP
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                   520591.01                       [PROPOSED] ORDER
